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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         Case No.16-CR-20575-SCOLA

  UNITED STATES OF AMERICA
  Plaintiff,

  vs.

  YINA MARIA CASTANEDA BENAVIDEZ
  Defendant,
  _________________________/

                         MOTION FOR GARCIA HEARING

        COMES NOW the defendant YINA MARIA CASTANEDA BENAVIDEZ and

  moves this Honorable Court for a Garcia Hearing to determine if

  there is a conflict between undersigned’s representation of her

  as well as that of Jefferson Minota Case # 16-CR-20538-COOKE/

  TORRES.

        Undersigned counsel learned last week that Jefferson

  Minota, if called by the Government, can offer evidence against

  Ms. Castaneda.

        Under the circumstances, if Ms. Castaneda decides to go to

  trial she cannot be represented by the undersigned as it would

  pose a conflict.

        Undersigned has asked Ms. Castaneda what her intentions are

  and she is undecided as of this date. Trial has been set for

  June 25,2018.

        Undersigned has no conflict in representing Ms. Castaneda

  if she pleads or if she goes to trial and Mr. Minota is not
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  called but if she goes to trial and Mr. Minota is called

  undersigned cannot cross examine him as undersigned represents

  him.

         This situation came to undersigned’s attention last

  week and that is the reason we are making the matter known to

  the court.

         WHEREFORE we ask that the court conduct a hearing so that

  the issues raised in the foregoing can be addressed.

         The Government has no objection to this motion.


                                          Respectfully Submitted,

                                          s/LOUIS CASUSO____________
                                          LOUIS CASUSO, Esq.
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                                          Miami, FL 33132
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the
  foregoing was electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF and mailed to Defendant
  Jefferson Minota Orobio and Yina Maria Castaneda Benavidez to
  FDC Miami located at P.O. Box 019120, Miami, Florida 33101 on
  this 30TH day of May, 2018.
                                 BY:S/LOUIS CASUSO______
                                    LOUIS CASUSO, Esq.
